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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK




 GEORGE WISHART

                              Plaintiff,            CERTIFICATION FOR CONTEMPT
                      v.
                                                           19-CV-6189-DGL-MJP
 PETER WELKLEY ET AL.,

                              Defendants.

       Pedersen, M.J. Plaintiff George Wishart (“Wishart”) claims that Correction Officer

Peter Welkley sexually harassed Wishart’s girlfriend when she came to visit Wishart at

prison. When Wishart complained to staff at the prison, he alleges he was subject to

retaliation. The harassment allegedly involved text messaging to Wishart’s girlfriend, and

that issue brings us to the pending motion for financial and non-financial sanctions.

       On October 22, 2020, Wishart’s counsel filed an application for and proposed order

granting him sanctions against Defendants because of their continued noncompliance with

the Court’s discovery orders. (Pl.’s Mot. for Sanctions, ECF No. 88.) Wishart wants an order:

       (1) directing that the fact that Defendant Swiatowy and Opperman conspired
       to assault Plaintiff be taken as established for purposes of the action pursuant
       to Fed. R. Civ. P. 37(b)(2)(A)(i); (2) directing Defendants to pay the reasonable
       expenses, including attorney’s fees, Plaintiff has incurred on the issue of
       electronic discovery since January 29, 2021, pursuant to Fed. R. Civ. P.
       37(b)(2)(C); and (3) certifying the facts of contempt of Mr. Swiatowy and Mr.
       Opperman pursuant to 28 U.S.C. § 636(e)(6)(B)(iii), ordering them to show
       cause before the district judge why they should not be held in contempt by
       reason of the facts so certified, and recommending that the district judge strike
       their answer and hold them in default if the district judge finds them in
       contempt.

(Pl.’s Mem. 14, ECF No. 90.) Defendants filed a memorandum and amended memorandum

in opposition to the motion (ECF Nos. 93, 94).
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       In a separate decision and order, the undersigned awarded a sanction in the form of

costs and attorney fees incurred by Plaintiff because of Defendants’ failure to comply with

the Court’s orders. In this report and recommendation, the undersigned addresses Plaintiff’s

request to certify facts to the District Judge regarding the contempt displayed by defendants

Swiatowy and Opperman.

                                     STANDARD OF LAW
       A magistrate judge has the authority to certify to the district court facts that

constitute contempt in a civil case. 28 U.S.C. § 636(e)(6)(B)(iii). In that event,

       district judge [] may serve or cause to be served, upon any person whose
       behavior is brought into question under this paragraph, an order requiring
       such person to appear before a district judge upon a day certain to show cause
       why that person should not be adjudged in contempt by reason of the facts so
       certified. The district judge shall thereupon hear the evidence as to the act or
       conduct complained of and, if it is such as to warrant punishment, punish such
       person in the same manner and to the same extent as for a contempt committed
       before a district judge.

28 U.S.C. § 636(e)(6)(B)(iii).

                    FACTS CERTIFIED TO THE DISTRICT COURT
       A.      On January 29, 2021, the Court entered a lengthy decision and order

addressing discovery disputes, writing in the Conclusion:

       The Court grants Plaintiff’s motion for sanctions and to compel production of
       documents. (ECF No. 64.) Counsel for Defendants and Plaintiff are directed to
       meet and confer within 10 days of the docketing of this Decision and Order to
       choose an ESI vendor or vendors. Defendants will pay the cost to: (1) transmit
       all of the ESI data Defendants have collected, in native format, to the chosen
       ESI vendor; (2) pay for and provide access to the devices and accounts that
       have not been properly collected so that the chosen ESI vendor can complete
       ESI collection in a forensically sound manner; (3) pay the full cost of the work
       that 4Discovery1 has already performed in conferring with Defendants’ expert
       and identifying the problems with Defendants’ ESI collection; and (4) pay the
       reasonable expenses Plaintiff has incurred in litigating the issue of e-discovery.


       1                        the ESI vendor in this case, is “an elite B2B digital forensics firm
that provides organizations and attorneys with digital forensic, information security, and
electronic discovery services.” 4Discovery, https://4discovery.com/about-us/ (last visited Mar. 11,
2022).


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       The Court denies Plaintiff’s motion to compel (ECF No. 52) as moot. The Court
       grants Defense counsel’s motion to substitute the corrected declaration from
       Tony Angiulo (ECF No. 81). The Court denies Defendants’ motion to strike, or
       in the alternative, for leave to file a sur-reply (ECF No. 78).

(Decision and Order 10–11, Jan. 29, 2021, ECF No. 83.)

       B.     Following an on-the-record conference on March 17, 2021, the Court ordered

Defendants to comply “forthwith” with its January 2021 Order because Defendants had not

yet then complied. (Minute Entry, Mar. 17, 2021, ECF No. 86.)

       C.     Plaintiff’s counsel, Joshua S. Moskovitz, Esq., declares under penalty of

perjury:

       15. On May 12, 2021, Plaintiff’s counsel deposed Tony Angiulo, who had
       performed the incomplete collection of Defendants’ ESI before the Court
       ordered Defendants to hire a vendor. Mr. Angiulo testified that the iPhone 7
       he received from Mr. Swiat[ow]y had been reset – meaning the data had been
       wiped and the phone was returned to its factory settings. See Exhibit 11 at pp.
       78-81 (Angiulo Dep. Tr.). Mr. Anguilo also testified that instead of sending the
       phone to the ESI vendor as ordered by the Court in January 2021, he returned
       the phone to Mr. Swiatowy on April 27, 2021. Id. at pp. 81, 100.

       D.     Defendants’ counsel asserts that defendant Swiatowy did try to comply with

collection efforts, but that the USB port on his phone was not working and needed repair.

(Deutsch Decl. ¶ 6, Jun. 14, 2021, ECF No. 91.)

       E.     In response to defense counsel’s assertion, Mr. Moskovitz states:

       Defendants do not deny, because they cannot, that between March 18, 2021,
       when the Court directed Defendants “to comply with the Court’s prior orders
       concerning discovery, forthwith” (Dkt. 86) (emphasis added), and June 1, 2021,
       when Plaintiff filed this motion, Defendants Opperman and Swiatowy did not
       provide the ESI vendor access to their electronic devices and digital accounts
       as directed by the Court on January 29, 2021 (Dkt. 83). Thus, it is undisputed
       that after the Court ordered Defendants to comply “forthwith” with the prior
       discovery orders, Defendants Opperman and Swiatowy delayed for another 10
       weeks without complying. Defendants’ explanation for this delay strains
       credulity.

(Moskovitz Decl. ¶ 3, Jun. 15, 2021, ECF No. 92.)




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      F.        Plaintiff’s counsel’s declaration provided further details:

      12. After receiving Mr. Swiatowy’s requested appointment time, the ESI
      vendor emailed Mr. Swiatowy promptly, on May 21, repeating this
      information:

                Thanks for reaching out- as a reminder from the email sent to
                you by counsel, your remote collection of your devices requires
                the following:

                1. A remote collection kit to be sent to your address

                2. A time scheduled in advance (so we can send you the kit for
                the collection time)

                You scheduled an appointment with 4 hours advanced notice. I’d
                be happy to help you arrange a time directly over this email
                chain with the counsels cc’d if that is easier.

                Thank you,

                Emily

      Ex. 16.

      13. Mr. Swiatowy never responded to this email, even after Plaintiff filed this
      motion for sanctions.

(Moscowitz Decl. ¶¶ 12–13.)

      G.        Defendant Opperman responded to the ESI vendor in an email:

      8. Mr. Opperman’s response to the ESI vendor’s June 10 email, which
      Defendants did not attach to their opposition, reveals Mr. Opperman’s
      contempt for this Court’s Orders, and indeed, this whole case:

                Pardon? YOU’D like to remind ME? I gave you all my
                information on MAY 14 and haven't heard from you since. I've
                already spoken to Mr. Deutsch re: this exact thing. I[’]ll say
                again for all parties involved....I am available daily after 2pm
                est to do something that has already been done twice. You
                have, and HAVE HAD, all of my contact information for at least
                a month. I will also say (as Mr Deutsch already knows []) that I
                will not go out of my way to contact you. This has gone on way
                too long and at no fault of mine. We all know this kid is gonna
                get paid anyway so stop dragging YOUR feet. And, please, save
                any nonsense about the courts being backed up or how hard it is
                for you to work from home due to covid.

      Ex. 20 (June 10, 2021 email from Defendant Opperman).


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(Id. ¶ 8 (emoticon omitted).)

       H.        Opperman did not reschedule a collection date call. (Moskowitz Decl. ¶ 20.)

       I.        Further details are contained in the declaration of Joshua S. Moskovitz, June

1, 2021, ECF No. 89, which are substantially unchallenged by the declaration of Hillel

Deutsch, Assistant N.Y. Attorney General, June 14, 2021, ECF No. 91.

                                        CONCLUSION
       Pursuant to 28 U.S.C. § 636(e)(6)(B)(iii), the undersigned certifies the above facts to

the District Court and recommends that the District Court order Defendants Swiatowy and

Opperman to show cause why they should not be adjudged in contempt by reason of the facts

so certified.

DATED:          March 11, 2022
                Rochester, New York

                                             __________________________________________
                                             MARK W. PEDERSEN
                                             United States Magistrate Judge




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